Case 19-25605 Doc5 Filed 11/22/19 Page1 of 2

Fill in this information to identify your case:

in i
Debtor 1 Key Nathaniel

 

First Name Middle Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: District of

Case number

MARYLAND

 

(If known)

 

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cote

 

Official Form 108

 

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O) Check if this is an
* amended filing

 

Statement of Intention for Individuals Filing Under Chapter 7 215

 

If you are an individual filing under chapter 7, you must fill out this form if:

™@ creditors have claims secured by your property, or

™ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

What do you intend to do with the property that

secures a debt?

Did you claim the property
as exempt on Schedule C?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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. (Retain the property and redeem it. es
mene of [kd Retain the property and enter into a
securing debt: Reaffirmation Agreement.
(Retain the property and [explain]:
2015 Bmw
Creditor’s Carmax FCI Surrender the property. V jNo
[CJ Retain the property and redeem it. Yes
propery of [a Retain the property and enter into a
securing debt: Reaffirmation Agreement.
{tl Retain the property and [explain]:
2012 Durango
wreditors Us Bank iC] surrender the property. No
_ fT Retain the property and redeem it. o Yes
reper of id Retain the property and enter into a
securing debt: Reaffirmation Agreement.
[Q) Retain the property and [explain]:
Family Residence
vrediior’s (CI Surrender the property. No
[TI Retain the property and redeem it. Yes

Description of
property
securing debt:

fu Retain the property and enter into a
Reaffirmation Agreement.

fd Retain the property and [explain]:

 

 

 

 

 

 
Case 19-25605 Doc5 Filed 11/22/19 Page 2 of2

Debtor 1 Kevin Nathaniel Goines Case number (if known)

First Name Middle Name Last Name

ra List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: TINo
Y

Description of leased [Lives

property:

Lessor’s name: (INo

a. Yes

Description of leased el

property:

Lessor’s name: INo

Description of leased [Olves

property:

Lessor’s name: [DNo
(Cives

Description of leased

property:

Lessor’s name: CINo
(ves

Description of leased

property:

Lessor's name: ‘No

[tives

Description of leased
property:

 

Lessor’s name: FiNo
ves

Description of leased

property:

Ee Sign Below

Under penalty of perjury, i declare that | have indicated my intention about any property of my estate that secures a debt and any
personal propenty that is subject to an unexpired lease.

 

  

 

 

\ ~ .
x 1 NN wma, x
Signature. of Debtor 4 Signature of Debtor 2
Date V 22 26) Date
MMf DD 7 YYYY MM? DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

 

 
